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                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx) 
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   EXHIBITS IN SUPPORT OF
17                                                     )   PLAINTIFFS’ RESPONSE TO
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )
                                                           DEFENDANTS’ FIRST JUVENILE
                                                       )   COORDINATOR REPORTS
19            Defendants.                              )   VOLUME 4 OF 12 [REDACTED
20
                                                       )   VERSION OF DOCUMENT
                                                           PROPOSED TO BE FILED UNDER
21                                                         SEAL]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM

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                                    CERTIFICATE OF SERVICE
1
           I, Peter Schey, declare and say as follows:
2

3          I am over the age of eighteen years of age and am a party to this action. I am
4
     employed in the County of Los Angeles, State of California. My business address is
5
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
6

7          On July 16, 2018, I electronically filed the following document(s):
8
        • EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’
9           THIRD JUVENILE COORDINATOR REPORTS VOLUME 4 OF 12
10          [REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
            UNDER SEAL]
11   with the United States District Court, Central District of California by using the
12
     CM/ECF system.
13

14         On July 16, 2018, I also served true and correct copies of the above documents
15
     to the interested parties by sending copies to the email address of Defendants’ Counsel,
16
     Sarah Fabian.
17

18                                               /s/Peter Schey
                                                 Attorney for Plaintiffs
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